                 Case 1:21-cv-03068-BAH Document 22 Filed 03/04/22 Page 1 of 1



                                        IN THE UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF MARYLAND
XL Specialty Insurance Company
                                                         *
      Plaintiff,
                                                         *
                                                                                            1:21-cv-3068-GLR
      v.                                                                 Case No.
Bighorn Construction & Reclamation, et al
                                                         *

      Defendant.                                         *

                                      GENERAL CONSENT TO PROCEED
                                 BEFORE A UNITED STATES MAGISTRATE JUDGE


             In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned party to the

above-captioned civil matter hereby voluntarily waives the right to proceed before a United

States District Judge and consents to have a United States Magistrate Judge conduct any and all

further proceedings in the case, including trial, and order the entry of a final judgment.



3/3/2022
Date                                                         Signature of Party or Counsel


                                                             Kevin Brotspies
                                                             Printed Name

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MagistrateGeneralConsentCV (06/2016)
